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8                             UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
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                                              Case No. CV 2:20-cv-05903-AB-JC
12      LUIS MARQUEZ
13
                       Plaintiff,
                                              ORDER DISMISSING CIVIL
14                                            ACTION
        v.
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16      VIMCO LODGING CAPITAL, INC.,
        et al.
17
                       Defendants.
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     Case 2:20-cv-05903-AB-JC Document 24 Filed 10/14/20 Page 2 of 2 Page ID #:59



1            THE COURT having been advised by counsel that the above-entitled action has
2      been settled;
3            IT IS THEREFORE ORDERED that this action is hereby dismissed without
4      costs and without prejudice to the right, upon good cause shown within 45 days, to re-
5      open the action if settlement is not consummated. This Court retains full jurisdiction
6      over this action and this Order shall not prejudice any party to this action.
7
8      Dated: October 14, 2020          _______________________________________
9                                       ANDRÉ BIROTTE JR.
                                        UNITED STATES DISTRICT JUDGE
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